






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-580 CR


____________________



JONATHAN BAGLEY, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 159th District Court


Angelina County, Texas


Trial Cause No. CR-23978






MEMORANDUM OPINION (1)


	Jonathan Bagley was convicted and sentenced on an indictment for indecency with
a child.  Bagley filed a notice of appeal on December 16, 2003.  The trial court entered
a certification of the defendant's right to appeal in which the court certified that the
defendant waived the right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The trial court's
certification has been provided to the Court of Appeals by the district clerk.

	On December 17, 2003, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered January 22, 2004

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


